                Case 22-11068-JTD   Doc 272-3   Filed 12/21/22   Page 1 of 3




                                EXHIBIT C




{1368.002-W0069408.}
                  Case 22-11068-JTD             Doc 272-3        Filed 12/21/22        Page 2 of 3




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                            Chapter 11

FTX TRADING LTD., et al.,1                                        Case No. 22-11068 (JTD)

                          Debtors.                                (Jointly Administered)


          STATEMENT PURSUANT TO BANKRUPTCY CODE SECTIONS 329 AND
               504, BANKRUPTCY RULE 2016 AND LOCAL RULE 2016-1

          1.        Pursuant to Bankruptcy Code sections 329 and 504, Bankruptcy Rule 2016, and

Local Rule 2016-1, Landis Rath and Cobb LLP (“LRC”)2 states that the undersigned is one of

the primary attorneys responsible for LRC’s representation of the above captioned debtors and

debtors-in-possession (collectively, the “Debtors”) in these Chapter 11 Cases.

          2.        Pursuant to the engagement agreement dated November 11, 2022 (the

“Engagement Agreement”) between the Debtors and LRC, the Debtors agreed to compensate

LRC for legal services provided or to be provided in connection with the Debtors’ Chapter 11

Cases. The Engagement Agreement also called for the Debtors to reimburse LRC for all actual

and necessary expenses incurred in connection with the Debtors’ Chapter 11 Cases.

          3.        Within ninety (90) days of the Petition Date, LRC received a retainer payment

from Debtor West Realm Shires Inc. in the total amount of $300,000.00 (the “Retainer”) to

secure payment of postpetition fees and expenses.3 LRC will hold the balance of the Retainer,


1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of
such information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX.
2
    All capitalized terms not otherwise defined shall have the same meanings ascribed to them in the Application.
3
 Aside from payment of the Retainer as disclosed herein, LRC was not paid any amounts by or on behalf of the
Debtors prior to the Petition Date. To the extent LRC had unbilled prepetition fees and expenses, it hereby waives
any such claims against the Debtors and their estates with respect to any such prepetition, unsecured amounts.



{1368.002-W0069408.}
                Case 22-11068-JTD       Doc 272-3    Filed 12/21/22    Page 3 of 3




subject to further order of the Court, as a retainer for postpetition fees and expenses in

connection with these Chapter 11 Cases.

        4.        LRC has not shared or agreed to share any compensation it has received or will

receive in connection with the Debtors’ Chapter 11 Cases with any individual who is not a full-

time employee of LRC.

Dated: December 21, 2022                      LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                              /s/ Adam G. Landis
                                              _______________________________
                                              Adam G. Landis (No. 3407)
                                              Kimberly A. Brown (No. 5138)
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                                              Proposed Counsel for the Debtors
                                              and Debtors-In-Possession




{1368.002-W0069408.}                             2
